                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WISCONSIN
                                 MILWAUKEE DIVISION


CASTLE SENIOR LIVING, INC.,

                Plaintiff,                                    Case No.: 2:21-cv-01040-JPS

        v.

 CITY OF DELAFIELD,

                 Defendant.


                                    AMENDED COMPLAINT


       Plaintiff, Castle Senior Living, Inc. (“Castle Senior Living”) states for its Amended

Complaint against the City of Delafield (the “City”) as follows:

                                        INTRODUCTION

       1.       This is an action for damages brought pursuant to the Fair Housing Act, Title VIII

of the Civil Rights Act of 1968, as amended (“FHA”), 42 U.S.C. § 3601, et. seq., and Titles II and

V of the Americans with Disability Act (“ADA”), 42 U.S.C § 12101, et seq., as well as violations

of state law, including Chapter 62 of the Wisconsin statutes (inclusive of, but not limited to,

Section 62.23, Wis. Stats.). The City intentionally and wrongfully denied Castle Senior Living’s

application for a conditional use permit (“CUP”) to allow senior citizens with disabilities to live in

a Community Based Residential Facility (“CBRF”) – a facility to house senior citizens with

disabilities - on the shores of Nagawicka Lake (the “Lake”).

       2.       The City failed to provide reasonable accommodations to allow senior citizens

with disabilities to live in a residential neighborhood. In fact, it provided no accommodations at

all. The City did not even provide the pretense of complying with its legal obligations to provide

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accommodations, and it went out of its way to ignore its own ordinances to ensure senior citizens

with disabilities could not live amongst the residents of Delafield.

       3.       By failing to provide accommodations, the City violated its own zoning

ordinances, state law and federal law.

       4.       Castle Senior Living has substantial damages as a result of the City’s actions,

including, without limitation, moneys invested in the CBRF project, loss of future profits from the

CBRF, and legal fees and related expenses.

                                             PARTIES

       5.       Castle Senior Living is a Wisconsin corporation with its principal place of business

at 13050 W. Cleveland Ave, New Berlin, Wisconsin 53151.

       6.       The City is a municipal body organized and existing under Wisconsin law in

Waukesha County, and within the Eastern District of Wisconsin. Upon information and belief,

the City’s principal office is located at 500 Genesee Street, Delafield, Wisconsin 53018. The City

is a public entity withing the meaning of the ADA, specifically 43 U.S.C. § 12131.

                                  JURISDICTION AND VENUE

       7.       Subject matter jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1331, as

this matter arises under federal law.

       8.       Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial

portion of the events and omissions giving rise to this claim arose in this District.

                                   FACTUAL BACKGROUND

       9.       Castle Senior Living owns and operates senior living facilities in the State of

Wisconsin. These include CBRFs.

       10.      Wisconsin law defines a CBRF as a place that is less restrictive than a skilled

nursing home and that provides “care, treatment or services” to individuals with disabilities who
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require up to 3 hours per week per resident of intermediate nursing care.         (See Wis. Stat.

§50.01(1g).) There is a detailed admission process to evaluate whether a resident’s disability-

related needs require a CBRF level of care. (See, eg., Wis. Adm. Code, §DHS 83.35.)

        11.     The Castle Senior Living CBRF at issue here would, by definition, serve senior

citizens with disabilities at the Property.

        12.     In or about 2020, Castle Senior Living began evaluating whether to buy a property

for sale along the Lake, in order to place a CBRF on the property.

        13.     The property in question was located at 1807 Nagawicka Road, Delafield,

Wisconsin (the “Property”).

        14.     Castle Senior Living ultimately entered into an agreement to purchase the Property

from its current owner.

        15.     One of the conditions of Castle Senior Living closing on the Property was its

ability to obtain the City’s approval for the CBRF on the Property.

        16.     The CBRF should have presented the City with a relatively easy approval decision.

        17.     The Property is zoned “RL-1,” which permits residential use, and a CBRF is an

allowed residential use.

        18.     Section 52-142(g) of the Delafield Code of Ordinances expressly provides that

CBRF’s are permitted “in all districts,” including those zoned RL-1, “subject to approval of the

common council following recommendation of the plan commission.”

        19.     Given the clear language of the Ordinance, the City admits - through its Attorney

and Planner – that a CBRF is a permitted use under RL-1 zoning.

        20.     The City asserts, however, that under §52-142(g), Castle Senior Living needs a

conditional use permit (“CUP”) for the project.

        21.     Although the City had the right to place reasonable conditions on any CBRF in this
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“RL-1” zoning and require those conditions to be satisfied as part of approving a CUP, the City

did not have the right to outright reject Castle Senior Living’s CBRF, particularly on the basis that

the City simply did not want senior citizens with disabilities living in this neighborhood on the

Lake.

        22.    Castle Senior Living submitted an application for a CUP to the City Plan

Commission.

        23.    On May 26, 2021, the City Plan Commission held a public hearing on the question

of Castle Senior Living’s CUP application for the CBRF.

        24.    At the May 26 hearing, the City Attorney told the Plan Commission that the

question before it was “…whether there’s substantial evidence to establish conditions for the

granting of the conditional use permit.”

        25.    The May 26 hearing included three hours of public comment, most of which

opposed granting the CUP.

        26.    The reasons for public opposition included concerns about surrounding property

values, concerns about the burden on water and sewer systems, concerns about the CBRF

blocking “sunset views,” and concerns about traffic.

        27.    A number of residents also expressed a desire that the subject lot be sub-divided

and three houses be built instead of the CBRF.

        28.    The City Plan Commission denied the application without requesting any

additional information from Castle Senior Living regarding concerns raised by the public.

        29.    For Example, the City did not seek any input from city departments or outside

experts on the impact of the CBRF on sewer and water.

        30.    Likely because it lacked any data about resident’s concerns on the project –

because it never asked for any - the City Plan Commission did not even bother to discuss or
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evaluate what terms, conditions or reasonable accommodations it could or should impose on the

CBRF project.

       31.       Rather than evaluate data and seek reasonable accommodations from Castle Senior

Living and for this CBRF, members of the Plan Commission simply tallied up the public vote it

heard at the meeting, and voted the same way. As Board Member Robert Weiler stated on the

record: “My tally shows there were 32 against and 8 for. And to me, I definitely want to take that

into consideration.”

       32.       Another Board member stated that, notwithstanding the City’s own ordinances

which permitted this CBRF use, the Commission was simply opposed to the very idea of a CBRF

“on the lake:”

       I guess I’d like to start, why does it have to be here, at the lake, on the lake?· Because we
       can find other areas for a CBRF…. So for that reason, I just -- I can’t approve something
       like this, even though I’m for a CBRF in our community, definitely am, just not in this
       location. I just don’t think it’s the right use for it.

       33.       In the end, the City Plan Commission denied Castle Senior Living’s CUP

application, and did so without considering or imposing any terms, conditions or reasonable

accommodations on Castle Senior Living.

       34.       As no conditions were requested or imposed, Castle Senior Living could not – and

did not – refuse to comply with terms, conditions or reasonable accommodations.

       35.       Rather, the City Plan Commission simply rejected the CUP because it did not want

a CBRF with senior citizens with disabilities in this residential neighborhood.

       36.       In so doing, the City ignored and violated its own municipal code, including

Ordinance § 52-142(g).

       37.       The City also violated state law. Wisconsin Statutes, Chapter 62, also known as

“Act 67,” prohibits the City from issuing a blanket denial of an already-approved use, such as the

CBRF. Rather, Act 67 limits the City to placing reasonable terms and conditions on such a use.
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        38.     Specifically, Act 67 requires that a City “shall” grant a CUP for an approved use,

unless it imposes restrictions and conditions that are reasonable and narrowly-tailored, and the

applicant fails to comply with such conditions:

        a. If an applicant for a conditional use permit meets or agrees to meet all of the
        requirements and conditions specified in the city ordinance or those imposed by the city
        zoning board, the city shall grant the conditional use permit. Any condition imposed must
        be related to the purpose of the ordinance and be based on substantial evidence.

        b. The requirements and conditions described under subd. 2. a. must be reasonable and, to
        the extent practicable, measurable and may include conditions such as the permit's
        duration, transfer, or renewal. The applicant must demonstrate that the application and all
        requirements and conditions established by the city relating to the conditional use are or
        shall be satisfied, both of which must be supported by substantial evidence. The city's
        decision to approve or deny the permit must be supported by substantial evidence.

Wis. Stat. §62.23(7)(de) (emphasis added).

        39.     As such, the “substantial evidence” standard the City Attorney told the Plan

Commission applied to its decision to deny the CUP was wrong. The Commission had a duty to

either impose reasonable requirements and conditions on the CUP application, or grant the CUP.

        40.     Under the statute, “substantial evidence” is not relevant until after the City imposes

reasonable conditions.

        41.     For example, once such conditions are imposed, the applicant must show

“substantial evidence” that it will comply with reasonable conditions. Similarly, the City must

show “substantial evidence” supporting denial of a CUP for failure to meet reasonable conditions.

However, the City has to actually give reasonable conditions before reaching the “substantial

evidence” issue.

        42.     Castle Senior Living raised these issues with the City Common Council and

requested that it reject the Plan Commission’s recommendation to deny this CUP for this CBRF

for senior citizens with disabilities.

        43.     As with the Plan Commission, the City Common Council summarily rejected

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Castle Senior Living’s proposal.

       44.     Again, and as with the Plan Commission, the City Common Council did not offer

Castle Senior Living any appropriate requirements, conditions or reasonable accommodations for

issuance of a CUP, as provided by statute.

       45.     Rather, the City Common Council, like the Plan Commission, simply denied the

CUP, even though this CBRF was an approved use on the Property per City zoning ordinances.

       46.     Like the Plan Commission, the City Common Council determined that it simply

did not want Castle Senior Living’s CBRF – which was to provide residences and services to

senior citizens with disabilities – in this residential neighborhood at all.

       47.     In so doing, the City (via its Plan Commission and City Common Council) decided

it would ignore its own zoning ordinances, Act 67, and the federal law cited below, in order to

prevent senior citizens with disabilities from living in this residential neighborhood along the

shores of the Lake.

       48.     Because the City flatly and summarily rejected a CBRF on the Property, Castle

Senior Living failed to satisfy a condition for purchasing the Property, and the Property’s owner

cancelled the transaction.

       49.     But for the City’s decision to discriminate against senior citizens with disabilities

and deny Castle Senior Living’s CUP, Castle Senior Living would have been able to purchase the

Property, would have purchased the Property, and would have constructed and maintained a

CBRF – an approved use under the City’s zoning of this Property – to serve senior citizens with

disabilities and provide them a place to live in the Property’s neighborhood.

       50.     The City’s denial of the CUP, prevention of this land purchase, and construction of

this CBRF project for senior citizens with disabilities has damaged Castle Senior Living in an

amount to be determined at trial, but which includes millions of dollars of costs, expenses, and
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lost future profits.

                                COUNT I – VIOLATION OF FHA

        51.     Castle Senior Living realleges and incorporates by reference the allegations of the

foregoing paragraphs.

        52.     The proposed CBRF is a “dwelling” within the meaning of 42 U.S.C. § 3602(b).

        53.     The proposed residents of the CBRF are “handicapped” within the meaning of 42

U.S.C. § 3602(h).

        54.     Since the City Common Council is vested with the final authority for zoning and

CUP decisions, the Council’s actions described above constitute the policy of the City and were

taken under the color of state law.

        55.     The City’s above-described actions constitute:

                a.      Discrimination in the sale or rental, or otherwise making unavailable or

         denying a dwelling because of disability in violation of the FHA;

                b.      A refusal to make reasonable accommodations in rules, policies, practices

         or services when such accommodations may be necessary to afford a person an equal

         opportunity to use and enjoy a dwelling in violation of the FHA; and,

                c.      Interference with the rights of person in the exercise or enjoyment of, or on

         account of their having exercised or enjoyed, or on account of their having aided or

         encouraged persons with disabilities in the exercise of enjoyment of rights granted or

         protected by the FHA.

        56.     The City’s above-described actions were intentional and taken with willful

disregard for the rights of Castle Senior Living and its clientele of disable senior citizens.

        57.     Castle Senior Living is an aggrieved person, as defined by 42. U.S.C. § 3602(i),

who has suffered economic loss, emotional distress and/or loss of civil rights as a result of the
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City’s conduct.

                               COUNT II – VIOLATION OF ADA

       58.    Castle Senior Living realleges and incorporates by reference the allegations of the

foregoing paragraphs.

       59.    The prospective residents of the proposed CBRF are “qualified individuals with a

disability” under the meaning of the ADA.

       60.    The City is a “public entity” under the ADA.

       61.    The City’s above-described actions are “services, programs or activities” under the

ADA.

       62.    The City’s above-described actions:

              a.        Constitute discrimination in violation of Title II of the ADA;

              b.        Exclude qualified individuals with disabilities from participation and deny

       them the benefits of the services, programs, or activities of a public entity on the basis of

       disability in violation of Title II of the ADA;

              c.        Afford qualified individuals with disabilities an opportunity to participate

       in or benefit from the services of a public entity that are not equal to those afforded others

       in violation of Title II of the ADA;

              d.        Otherwise limit a qualified individual with a disability in the enjoyment of

       any right, privilege, advantage, or opportunity enjoyed by others who received the aid,

       benefit, or service in violation of Title II of the ADA; and,

              e.        Fail to make reasonable modifications in policies, practices, or procedures

       necessary to avoid discrimination on the basis of disability in violation of Title II of the

       ADA.

       63.    The City’s above-described actions were intentional and taken with willful
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disregard for the rights of Castle Senior Living and the senior citizens with disabilities it planned

to serve.

                             COUNT III – VIOLATION OF ACT 67

       64.      Castle Senior Living realleges and incorporates by reference the allegations of the

foregoing paragraphs.

       65.      Act 67 (codified at Section Chapter 62 of the Wisconsin statutes) does not allow

the City to reject an already-approved use of a property such as this Property.

       66.      Act 67 allows a city to impose conditions on the issuance of a conditional use

permit for such an approved use, but only if such conditions are reasonable.

       67.      Act 67 otherwise requires that a City “shall” grant a conditional use permit for such

an approved use.

       68.      Here, the CBRF is an approved use under the City’s ordinances.

       69.      The City, however, flatly denied this approved-used conditional use permit

proposal by Castle Senior Living.

       70.      The City did not even request any conditions on the approved use, let alone

reasonable conditions.

       71.      Rather, the City simply denied the request in violation of its own ordinances,

without imposing any conditions whatsoever.

       72.      The City’s denial of Castle Senior Living’s requested conditional use permit is a

violation of Castle Senior Living’s rights under state law including, without limitation, Act 67.

       73.      Castle Senior Living has been damaged by the City’s violation of state law in an

amount do be determined at trial.

       74.      Castle Senior Living served a Notice of Claim on the City pursuant to Wis. Stat. §

893.80 on September 7, 2021, and the City did not respond to the Notice of Claim. As such,
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Castle Senior Living has fulfilled its obligations to provide such a Notice of Claim under state

law, and the claim is deemed denied by the City, and is ripe for litigation.

       WHEREFORE, Castle Senior Living, Inc. requests judgment against the City of Delafield

as follows:

       (1)     in an amount to be determined at trial;

       (2)     for all exemplary and/or punitive damages as allowed by law;

       (3)     for its costs and reasonable attorneys’ fees incurred in this matter; and

       (4)     for all further relief to which it is legally or equitably entitled, or which this Court

deems just and proper.

                             PLAINTIFF DEMANDS A TRIAL BY JURY.

       Dated this 31st day of January, 2022.

                                               Respectfully submitted,

                                               ATTORNEYS FOR PLAINTIFF, CASTLE SENIOR
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